          Case MDL No. 3089 Document 92-1 Filed 10/04/23 Page 1 of 1




                   BEFORE THE UNITED STATES JUDICAL PANEL
                        ON MULTIDISTRICT LITIGATION



   In re: Oral Phenylephrine Marketing and
           Sales Practices Litigation                                       MDL-3089




                        EXHIBIT A TO RUBEN HONIK NOTICE OF APPEARANCE

      Short Case Caption:

Case Caption             Court                        Civil Action No.         Judge
Scoffier v. Reckitt
Benckiser
                            District of New Jersey      No. 2:23-cv-20529        Hon. Evelyn Padin
Pharmaceuticals Inc.,
et al.
Boonparn v. Reckitt         Eastern District of New
                                                         No.1:23-cv-06936       Hon. Pamela K. Chen
Benckiser, et al.                    York
Nyanjom v. Reckitt
Benckiser                                               No. 2:23-cv-02426
                              District of Kansas                                Hon. Holly L. Teeter
Pharmaceuticals Inc.,
et al.
Parker v. Bayer               Eastern District of
Corporation, et al.                                     No. 2:23-cv-03663       Hon. Kai Niambi Scott
                                Pennsylvania
